             Case 3:22-cv-00425-M Document 53 Filed 05/01/24                                     Page 1 of 1 PageID 378
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court            Northern District of Texas, Dallas Division                       on the following
      G Trademarks or         G
                              ✔ Patents.    ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
       3:22-cv-425                         2/22/2022                             Northern District of Texas, Dallas Division
PLAINTIFF                                                                 DEFENDANT
 High Energy Ozone LLC et al                                                Eden Park Illumination Inc



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 8,975,605                                3/10/2015                S. Edward Neister

2 9,700,642                                6/11/2017                S. Edward Neister

3

4

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

2

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 In light of the stay, the Clerk of Court is directed to administratively close the consolidated cases for statistical
 purposes.



CLERK                                                      (BY) DEPUTY CLERK                                            DATE
Karen Mitchell                                               s/A. Lowe                                                         5/1/2024

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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